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                                        September 4, 2022

                                                                                          Via ECF

Honorable Lorna G. Schofield
U.S. District Court
Southern District of New York
Thurgood Marshall Courthouse
40 Foley Square
New York, NY 10007

       Re:     In re Foreign Exchange Benchmark Rates Antitrust Litigation
               Case No. 1:13-cv-07789-LGS

Dear Judge Schofield:

        We write jointly on behalf of the parties to inform the Court that the parties have reached
an agreement regarding the admissibility of certain exhibits that moots Plaintiffs’ Motion In Limine
No. 5 for an Order that Co-Conspirator Statements are Within the Fed. R. Evid. 801(d)(2)(E)
Hearsay Exclusion. ECF No. 1733. A proposed stipulation will be filed on Tuesday, September
6, 2022. The parties continue to meet and confer regarding objections to the admissibility of the
parties’ proposed exhibits and have made significant progress towards narrowing these disputes.

       Plaintiffs withdraw Motion In Limine No. 5 (ECF No. 1733) and the parties respectfully
request that the Court deny the motion as moot.

                                      Respectfully submitted,

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